                   United States Court of Appeals
                                       For the Seventh Circuit
                                       Chicago, Illinois 60604

                                              July 24, 2024

By the Court*:

No. 21-2325

SAINT ANTHONY HOSPITAL,                                  Appeal from the United States District
     Plaintiff-Appellant,                                Court for the Northern District of
                                                         Illinois, Eastern Division.
        v.

ELIZABETH M. WHITEHORN, in her                           1:20-cv-02561
official capacity as Director of the Illinois
Department of Healthcare and Family
Services,                                                Steven C. Seeger,
        Defendant-Appellee,                              Judge.
and

MERIDIAN HEALTH PLAN OF
ILLINOIS, INC., et al.,
     Intervening Defendants-Appellees.

                                               ORDER

       Appellees’ petitions for rehearing en banc are GRANTED. The panel’s opinion
and judgment issued April 25, 2024 are VACATED. By separate order, the court will set
a date for oral argument en banc. No further briefing is needed.




* Circuit Judge Nancy L. Maldonado did not participate in the consideration of this petition for rehearing

en banc.
 Circuit Judge Wood retired on May 1, 2024, and did not participate in the consideration of this petition.
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